Case 09-10138-MFW Doc 1495-1 Filed 09/15/09 Pagei1of2

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE
x

Chapter 11

In re
Case No. 09-10138 (KG)

NORTEL NETWORKS INC., et al,’
Jointly Administered

Debtors.

Hearing Date: October 13, 2009 at
10:00 a.m. (ET) (Proposed)
Response Date: October 6, 2009 at
4:00 p.m. (ET) (Proposed)

Xx

NOTICE OF DEBTOR NNIV’S OBJECTION TO PROOF OF
CLAIM FILED BY THE INTERNAL REVENUE SERVICE

PLEASE TAKE NOTICE that the debtors and debtors-in-possession (collectively,
the “Debtors’’) in the above-captioned cases, have today filed and served the attached Debtor
NNI’s Objection To Proof Of Claim Filed By The Internal Revenue Service (the ‘Motion’.

PLEASE TAKE FURTHER NOTICE that any party wishing to oppose the entry
of an order approving the Motion must file a response or objection (“Objection”) if any, to the
Motion with the Clerk of the United States Bankruptcy Court for the District of Delaware, 824
Market Street, 3rd Floor, Wilmington, Delaware 19801 on or before October 6, 2009 at 1:30
p.m. (ET) (Proposed) (the “Objection Deadline”).

At the same time, you must serve such Objection on counsel for the Debtors so as
to be received by the Objection Deadline.

PLEASE TAKE FURTHER NOTICE THAT A HEARING ON THE MOTION
WILL BE HELD ON OCTOBER 13, 2009 AT 10:00 A.M. (ET) (PROPOSED) BEFORE
THE HONORABLE KEVIN GROSS AT THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE, 824 MARKET STREET, 6TH FLOOR,
COURTROOM #3, WILMINGTON, DELAWARE 19801. ONLY PARTIES WHO HAVE

| The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s tax identification number, are:

Nortel Networks Inc. (6332), Nortel Networks Capital Corporation (9620), Nortel Altsystems Inc. (9769), Nortel
Altsystems International Inc. (5596), Xros, Inc. (4181), Sonoma Systems (2073), Qtera Corporation (0251), CoreTek,
Inc. (5722), Nortel Networks Applications Management Solutions Inc. (2846), Nortel Networks Optical Components
Inc. (3545), Nortel Networks HPOCS Inc. (3546), Architel Systems (U.S.) Corporation (3826), Nortel Networks
International Inc. (0358), Northern Telecom International Inc. (6286) and Nortel Networks Cable Solutions Inc. (0567)
and Nortel Networks (CALA) Inc. (4226). Addresses for the Debtors can be found in the Debtors’ petitions, which are
available at http://chapter1 1 .epiqsystems.com/nortel.
Case 09-10138-MFW Doc 1495-1 Filed 09/15/09 Page 2 of 2

FILED A TIMELY OBJECTION WILL BE HEARD AT THE HEARING.

IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE
COURT MAY GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT
FURTHER NOTICE OR HEARING.

Dated: September 15, 2009 CLEARY GOTTLIEB STEEN & HAMILTON LLP
Wilmington, Delaware
James L. Bromley
Lisa M. Schweitzer
One Liberty Plaza
New York, New York 10006
Telephone: (212) 225-2000
Facsimile: (212) 225-3999

~ and -

RRIS, NICHOLS, ARSHT & TUNNELL LLP

Chacko

Derek C. Abbott (No. 3376)

Eric D. Schwartz (No. 3134)

Ann C. Cordo (No. 4817)

Andrew R. Remming (No. 5120)
1201 North Market Street

P.O. Box 1347

Wilmington, Delaware 19899-1347
Phone: (302) 658-9200

Facsimile: (302) 658-3989

Counsel for the Debtors
and Debtors in Possession

3121196.1
